                   Case 1:18-po-01255-TCB Document 15 Filed 08/03/18 Page 1 of 3 PageID# 19
      ^AO 2451        (Rev. 09/11} Judgment in a Criminal Case for a Petty OlTcnse
                      Sheet 1




                                             United States District Court
                                                                 Eastern District of Virginia                                                   I        E    Tn
                UNITED STATES OF AMERICA                                             Judgment in a Criminal Case
                                                                                     (For a PcUy OlTensc)                               AUG -3 2018
                                     V.

                        Jonathan 0. Thomas                                                                                       CLERK, U.S. L •:>ir. G COURT
                                                                                     Case No. 1:18P01255                                A! fy.'- -.     '.A

                                                                                     USMNo. n/a

                                                                                      Gregory Beckwith, Esq.
                                                                                                              Defendant's Attornev

      THE DEFENDANT:


      ^ THE DEFENDANT pleaded                        ^guilty □ nolo coiuendere to couiU(s) 2
          □ THE DEFENDANT was found guilty on count(s)
          The defendant is adjudicated guilty of these offenses:

          Title & Section                    Nature of Offense                                                    Offense Ended                 Count

  32 CFR 234.17(c)(1 )(i)                 Driving Under the Influence                                              05/12/2018                    2
cU.i,..   -




                 The defendant is sentenced as provided in pages 2 through                   3     ol this Judgment.
          □ THE DEFENDANT was found not giiilly on count(s)
          ^ Count(s) 1 & 3                                               □ is         ^ are dismissed on the motion of the United States.
                   It is ordered that the defendant nust notify the United States attoncy for this district within 30 days of anychange oftiame,
          residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
          ordered to pay restitution, the defendant m ust notify the cour t and United States attorney of m atenal changes in econom ic
          circumstances.


          Last Four Digits of Defendant's See. Sec. No.: ^254                         08/02/2018
                                                                                                                ffip^tion-e:          nt-

          Defendant's Yearof Birth:          1994                                                                         oll Buchanan
                                                                                                            nhed Stales Maaistratp .InHja
          City and State of Defendant's Residence:                                                            Signature of Judge
          Alexandria Virginia
                                                                                      Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                                            Name and Title of Judge


                                                                                             iM                        Date
           Case 1:18-po-01255-TCB Document 15 Filed 08/03/18 Page 2 of 3 PageID# 20


AO 2451      (Rev. 09/11)Judgment in a Criminal Case for a Petty Offense
             Sheet 5 — Probation

                                                                                                            Judgment—^Page ^       of
 DEFENDANT: Jonathan C. Thomas
 CASE NUMBER: 1:18P01255
                                                                       PROBATION

 The defendant is hereby sentenced to probation for a term of:

ONE (1)YEAR SUPERVISED PROBATION



 The defendant shall not comtnit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refraiii from any unlawful use ofa controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter as determined by the court.
 □ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

 n The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
       applicable.)
 f~] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 □ The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
 □ The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                 If this judgtnent imposes restitution or a fine, it is a condition of probation that the defendant pay in accordance with the
       Schedule of Payments sheet of this judgment.
            The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupationpnless excused by the probation officer for schooling, training, oother
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from exeessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defeiKlani shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged incriminal activity and shall not associate with any person convcted
          of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
  12) the defendant shall not enlcrinto any agreement to act as an informer or a special agent of a law enforcenant agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasion^ by the defendmt s
           criminal i ccord, personal liistory, orcharacieristics and shall permit the probation officer to nuke such notifications and coniirm
           the defendant's compliance with such notification requirement.
          Case 1:18-po-01255-TCB Document 15 Filed 08/03/18 Page 3 of 3 PageID# 21


AO 2451    (Rc\     I) Judgment in :i Criminal Case for a I'etly OtTensc
           Sheet 5A — Probation Supervision
                                                                                            Judgment — Page   3    of   3
DEFENDANT: Jonathan C. Thomas
CASE NUMBER: 1:18P01255
                                              SPECIAL CONDITIONS OF SUPERVISION

Conditions of Probation are as follows:



1. The defendant shall serve FIVE (5) DAYS in jail (weekends/intermittent) at the direction of the probation officer.


2. The defendant shall enter and successfully complete an alcohol treatment and/or education program at the direction of
the probation officer.


3. Commencing August 2, 2018 and continuing for the ONE (1) YEAR the defendant may operate a motor vehicle ONLY,
(a)to and from work,(b) during the course of work, if required as incident of employment,(c)to and from this court, the
probation office and the alcohol treatment program, and (d)to and from his medical appointments.


4. The defendant shall pay a $400.00 fine, a 310.00 special assessment, and a $30.00 processing fee, all to be paid
within THIRTY (30) days.
